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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,
                                                            CRIMINAL NUMBER:
                v.
                                                            1:18-cr-00032-2-DLF
 CONCORD MANAGEMENT AND
 CONSULTING LLC,

         Defendant.


 PARTIES’ JOINT MOTION FOR AN ORDER SETTING PROCEDURES FOR JURY
                SELECTION AND INDIVIDUAL VOIR DIRE

       Concord Management and Consulting LLC and the United States of America jointly move

for the entry of an order setting forth the procedure for jury selection.

       The parties respectfully propose the following procedure for jury selection:

       (1) the Court summon the prospective jurors to the courthouse to complete the jury

questionnaire with counsel present;

       (2) the Court provide the parties with copies of the completed questionnaires;

       (3) the parties will file under seal any motions to strike prospective jurors for cause, based

on the completed questionnaires;

       (4) after the Court rules on those motions, the remaining prospective jurors would then be

required to appear for in-person voir dire with the parties;

       (6) during the in-person voir dire, the parties will submit further motions to strike

prospective jurors for cause; and

       (7) once a sufficient number of jurors are qualified to serve, the parties would then exercise

peremptory strikes.

       The parties also propose that the in-person voir dire be conducted on an individual basis.

The parties propose that the courtroom remain open during the voir dire process, but that each

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juror be questioned by the Court individually for voir dire while the remaining prospective jurors

wait in a separate room. The parties also propose that, consistent with the standard practice, a

“husher” be used for personal questions, such as those related to a juror’s medical history or the

criminal history of family members. Given the circumstances of this case, the parties believe that

this proposal will make the jury selection process more effective and efficient, and also protect the

venire from potential bias of other prospective jurors.

        The Court’s authority to fashion such an order is expressly provided in the Local Rules.

Pursuant to Local Criminal Rule 57.7(c), “[i]n a widely publicized or sensational criminal case,

the Court . . . may issue a special order governing such matters as . . . the management and

sequestration of jurors and witnesses, and any other matters which the Court may deem appropriate

for inclusion in such an order.” The parties are in agreement that the nature of the instant case

warrants a special order governing the voir dire process as outlined above.

        While the parties recognize that the constitutional right to a public trial extends to the voir

dire of prospective jurors, see Presley v. Georgia, 558 U.S. 209, 213 (2010), constitutional

concerns are not implicated here because the parties do not seek the outright closure of the

courtroom. Rather, the parties propose merely that prospective jurors be questioned outside the

presence of other prospective jurors, while the jury selection process as a whole would remain

open to the public. Individual voir dire is a commonly accepted practice within this district and in

federal courtrooms around the country. See, e.g., United States v. Abu Khatallah, 313 F. Supp. 3d

176, 194 (D.D.C. 2018) (in prosecution related to attack on United States diplomatic compound in

Benghazi, court administered “lengthy questionnaire and individualized voir dire” “to ensure that

the defendant received a trial as free as possible of nationalistic and cultural biases”); Application

of Washington Post, No. CRIM. 91-0521 (RCL), 1992 WL 233354, at *1 (D.D.C. July 23, 1992)

(noting that voir dire in this case “involved a two-stage process”: first, issuing a jury questionnaire;


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and second, conducting “individual voir dire” which involved calling each prospective juror “into

open court one at a time in a random order for individual questioning”); United States v. Vaghari,

500 Fed. Appx. 139, 150 (3d Cir. 2012) (noting that while district court conducted “certain portions

of the individual voir dire behind ‘closed doors,’ doing so was the functional equivalent of a

sidebar discussion and no more improper than that commonly accepted practice”).

       In United States v. Aguiar, after reciting voir dire questions to the jury pool, the court

“proceeded to individual voir dire which was conducted on the record with the defendants, their

counsel, prosecutors, and the Court present in the jury room.” 82 F. Supp. 3d 70, 82 (D.D.C.

2015), aff’d in part, rev’d in part, 894 F.3d 351 (D.C. Cir. 2018) (emphasis added). The parties’

proposal here guarantees more public access than the practice that was employed—and deemed

acceptable—in Aguiar. The parties’ proposal would allow the jury selection process to be

conducted in open court, with only personal questions made private through the use of a “husher.”

       Based on the foregoing, the parties respectfully request that the Court issue an order

outlining the jury selection process described above.

 Dated: January 21, 2020                                Respectfully submitted,




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JESSIE K. LIU                        CONCORD MANAGEMENT
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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,
                                                          CRIMINAL NUMBER:
               v.
                                                          1:18-cr-00032-2-DLF
 CONCORD MANAGEMENT AND
 CONSULTING LLC,

       Defendant.


                                    PROPOSED ORDER

      Upon consideration of the Parties’ Joint Motion for an Order Setting Procedures for Jury

Selection and Individual Voir Dire, it is hereby ORDERED that the motion is GRANTED.

      Jury selection and individual voir dire will take place in the manner proposed by the Parties.

SO ORDERED.


 Dated: ______________________                   ____________________________________
                                                 Dabney L. Friedrich
                                                 United States District Judge
